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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

               Plaintiff

v.                                                    Criminal Action No. 2:24-CR-00039

DAVID WALTER MCCAULEY,

               Defendant.

                           MOTION FOR DETENTION HEARING


       The United States moves for pretrial detention of defendant pursuant to 18 U.S.C. Section

3142(e) and (f).

       1. Eligibility of Case. This case is eligible for a detention order because the case

involves (check all that apply):

               ____    a crime of violence, a violation of section 1591, or an
                       offense listed in section 2332b(g)(5)(B) for which a
                       maximum term of imprisonment of 10 years or more is prescribed;

               ____ an offense for which the maximum sentence is life imprisonment or
                    death;

               ____    an offense for which a maximum term of imprisonment of ten years
                       or more is prescribed in the Controlled Substances Act (21 U.S.C. 801 et
                       seq.), the Controlled Substances Import and Export Act (21 U.S.C. 951 et
                       seq.), or chapter 705 of title 46;

               ____ any felony if such person has been convicted of two or more
                    offenses described in subparagraphs (A) through (C) of Title 18 U.S.C.
                    Section 3142(f)(1), or two or more State or local offenses that would have
                    been offenses described in subparagraphs (A) through (C) of this
                    paragraph if a circumstance giving rise to Federal jurisdiction had existed,
                    or a combination of such offenses; or

               ____ any felony that is not otherwise a crime of violence that involves a
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                      minor victim or that involves the possession or use of a firearm or
                      destructive device (as those terms are defined in section 921), or any other
                      dangerous weapon, or involves a failure to register under section 2250 of
                      title 18, United States Code;

              __X__ Serious risk defendant will flee;

              __X__ Serious risk obstruction of justice

       2. Reason for Detention. The court should detain defendant because there are no

conditions of release which will reasonably assure (check one or both):

              __X__      Defendant's appearance as required

              __X__      Safety of any other person and the community

       3. Rebuttable Presumption.

       A rebuttable presumption arises that no condition or combination of conditions will

reasonably assure the safety of any other person and the community because:

              ____ a) the defendant has been convicted of a Federal offense that is
              described in Title 18 U.S.C. Section 3142(f)(1), or of a State or local
              offense that would have been an offense described in subsection (f)(1) of
              this section if a circumstance giving rise to Federal jurisdiction had existed; b) the
              offense was committed while the defendant was on release pending trial for a
              Federal, State, or local offense; and c) a period of not more than five years has
              elapsedsince the date of conviction, or the release of the defendant from
              imprisonment, for that offense whichever is later.

       A rebuttable presumption arises that that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of the community

because the defendant committed:

              ____ an offense for which a maximum term of imprisonment of ten years
              or more is prescribed in the Controlled Substances Act (21 U.S.C. 801 et
              seq.), the Controlled Substances Import and Export Act (21 U.S.C. 951 et
              seq.), or chapter 705 of title 46;

              ____ an offense under section 924(c), 956(a), or 2332b of this title;

              ____ an offense listed in section 2332b(g)(5)(B) of title 18, United States
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                      Code, for which a maximum term of imprisonment of 10 years or more is
                      prescribed;

              ____ an offense under chapter 77 of this title for which a maximum term
                   of imprisonment of 20 years or more is prescribed; or

              __X__ an offense involving a minor victim under section 1201, 1591, 2241,
                    2242, 2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2),
                    2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
                    2260, 2421, 2422, 2423, or 2425 of this title.

       4. Time for Detention Hearing. The United States requests the court conduct the

detention hearing

                          At first appearance

              __X__      After continuance of   3    days (not more than 3)

       5.     Other Matters:

DATED: October 2, 2024


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